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                                                                                  FILED
                                                                                    JUL 2 9 2020
                                      STATES DISTRICT COURT
                              SEALEDUNITED

                                 WESTERN DISTRICT OF TEXAS                   CLERKA).$. DISTRICT      COURT
                                                                            WEST9DISTRCT OP TEXAS
                                   SAN ANTONIO DIVISION                     BY
                                                                                     /A   J DEPUTY CLERK
 UNITED STATES OF AMERICA,


 VS.
                Plaintiff,
                                                §
                                                                         Q3h IG
                                                       COUNTS 1-2: 18 U.S.C. §1791(a)(1)
                                                §      & (b)(1); Providing Contraband in Prison
CRYSTAL ANTOINETTE WOODS (1),                   §
NINA RODRIGUEZ (2)                              §      COUNT 3: 21 USC § 846, 841(a)(1)
                                                §      & 841(b)(1)(A); Conspiracy to Distribute a
                Defendants.                     §      Controlled Substance

THE GRAND JURY CHARGES:

                                           COUNT ONE
                                  [18 U.S.C. §1791(a)(1) & (b)(1)]

        That on or about January 24, 2019, in the Western District of Texas, Defendant,

                              CRYSTAL ANTOINETTE WOODS (1)

contrary to Title 21, United States Code, Section 841, provided and attempted to provide a

prohibited object, to wit: suboxone, to an inmate in the Central Texas Detention Facility-GEO, a

prison, institution, and facility in which persons are held in custody by direction of and pursuant

to a contract and agreement with the Attorney General, or attempted to do so, in violation of Title

18, United States Code, Sections 179 1(a)( 1) and (b)( 1).

                                             COUNT TWO
                                 [18 U.S.C.   §1791(a)(1) & (b)(1)J

        That on or about June 19, 2019, in the Western District of Texas, Defendant,

                                      NINA RODRIGUEZ (2)

contrary to Title 21, United States Code, Section 841, provided and attempted to provide a

prohibited object, to wit: suboxone, to an inmate in the Central Texas Detention Facility-GEO, a

prison, institution, and facility in which persons are held in custody by direction of and pursuant
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 to a contract and agreement with the Attorney General, or attempted to do so, in
                                                                                  violation of Title
 18, United States Code, Sections 1791(a)(1) and (b)(1).

                                         COUNT THREE
                             [21   Usc § 846, 841(a)(1) & 841(b)(1)(A)]
         That beginning on or about January 1, 2015, the exact date unknown, and continuing
                                                                                            until
 on or about the date of this indictment, in the Western District of Texas, Defendants,

                              CRYSTAL ANTOINETTE WOODS (1)
                                   NINA RODRIGUEZ (2)

unlawfully, knowingly, and intentionally combined, conspired, confederated and agreed together

and with others known and unknown to the Grand Jury to distribute and to possess with
                                                                                      intent to
distribute controlled substances, which offense involved 500 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II Controlled

Substance and   1   kilogram or more of a mixture or substance containing a detectable amount of

heroin, a Schedule I Controlled Substance, contrary to Title 21, United States Code, Sections

841(a)(1) & 841(b)(1)(A) and in violation of Title 21, United States Code, Section 846.



                                               A TRUE BILL



                                                jtRSON OF THE GRAD JURY
JOHN F. BASH
UNITED STATES ATTORNEY


BY:
   ,4RUSSELL D. LEACHMAN
       Assistant United States Attorney
